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                                                            July 10, 2024

      By ECF
      Honorable James B. Clark, III, U.S.M.J.
      U.S. District Court – District of New Jersey
      Martin Luther King Bldg. & U.S. Courthouse
      50 Walnut Street
      Newark, New Jersey 07102

                  Re:    In re Celgene Corp. Sec. Litigation,
                         Case No. 2:18-cv-04772-MEF-JBC

      Dear Judge Clark,

              We, along with Lead Counsel, represent Lead Plaintiff AMF Pensionsförsäkring AB
      (“Plaintiff”) and the certified Class in the above-referenced action. We write upon consent of
      Defendants and are filing documents for public access that were provisionally sealed pursuant to
      Local Civil Rule 5.3. (See ECF Nos. 296 and 300).

                  We thank the Court for its attention to this matter.

                                                       Respectfully Submitted,

                                                    CARELLA BYRNE CECCHI
                                                    BRODY & AGNELLO, P.C.

                                                         /s/James E. Cecchi
                                                           James E. Cecchi
